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“UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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INDICTMENT
UNITED STATES OF AMERICA
19

- Vv. -

  

TOVA NOEL and
MICHAEL THOMAS,

Defendants.

INTRODUCTION

1. On or about August 10, 2019, TOVA NOEL and MICHAEL
THOMAS, the defendants, in dereliction of their duties as
correctional officers at the Metropolitan Correctional Center
(“MCC”), repeatediy failed to perform mandated counts of prisoners
under their watch in the MCC’s Special Housing Unit (“SHU”).
Instead, for substantial portions of their shifts, NOEL and THOMAS
sat at their desk, browsed the internet, and moved around the
common area of the SHU. To conceal their failure to perform their
duties, NORL and THOMAS repeatedly signed false certifications
attesting to having conducted multiple counts of inmates when, in
truth and in fact, they never conducted such counts. As a result
of those false statements, the MCC believed prisoners in the SHU
were being regularly monitored and accounted for when, in fact, as
a result of the defendants’ conduct, no correctional officer

conducted any count or round of the SHU from approximately 10:30

 
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p.m. on August 9 until approximately 6:30 a.m. on August 10, at
which time, as alleged herein, NOEL and THOMAS discovered the body
of an MCC inmate, Jeffrey Epstein, who had committed suicide
overnight while unobserved.

RELEVANT INDIVIDUALS AND ENTITIES

 

2. The MCC is a federal administrative detention
facility located in Manhattan that is run by the Federal Bureau of
Prisons (“BOP”). The MCC is one of several facilities used toa
house inmates who have been charged with federal crimes in the
Southern District of New York and are awaiting trial. The MCc
employs correctional officers, whose primary duty is to ensure the
care, custody, and control of the inmate population of the MCC.

3. TOVA NOEL, the defendant, has been employed as a
correctional officer at the MCC since approximately 2016. As of
August 2019, NOEL’s primary assignment was the SHU. On August 9,
2019, NOEL worked a regular shift from 4 p.m. to 12 a.m. in the
SHU, and then worked an overtime shift from 12 a.m. to 8 a.m. on
August 10, 2019, also in the SHU. NOEL had also worked a regular
shift in the SHU the day before, August 8, 2019, from 12 p.m. to
8 p.m.

4, MICHAEL THOMAS, the defendant, has been employed as
a correctional officer at the MCC since approximately 2007.

Beginning in approximately 2013, THOMAS was assigned to work as a

 

 
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materials handler supervisor, although THOMAS regularly worked
overtime shifts as a correctional officer, including in the SHU.
THOMAS worked an overtime shift in the SHU on August 10, 2019,
from 12 a.m. to 8 a.m. THOMAS did not work his regular shift on
August 8 or August 9, 2019, but did work an overtime shift in the
SHU on August 9, 2019 from 12 a.m. to 8 a.m.

5. As detailed herein, Jeffrey Epstein was
incarcerated at the MCC between his arrest on July 6, 2019, and
his suicide on August 10, 2019. Epstein was detained pending
trial in the Southern District of New York on sex trafficking
charges.

THE MCC AND INSTITUTIONAL COUNTS

 

G. The MCC, which houses approximately 750 inmates at
any given time, assigns inmates to various housing units within
the McC. ‘The SHU is a housing unit within the MCC where inmates
are securely separated from the general inmate population to ensure
their own safety as well as the safety of staff and other inmates.
The SHU is located on the ninth floor of the MCC, and access to
that fioor is controlled by a locked door that can be opened
remotely only by an officer in the MCC’s centralized control center
(the “Control Center”), which is located on the first floor of the
McC, Access into the SHU is also controlled by a second locked

door to which only correctional officers assigned to the SHU have

 

 
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keys while on duty. Within the SHU, inmates are assigned to Six
separate tiers, each of which can be accessed only via a single
locked door to which the correctional officers assigned to the SHU
have keys while on duty. Each tier has eight celis, each of which
can house either one or two prisoners, and each individual cell —-
which is made of cement and metal - is accessed only through a
single locked door, to which only correctional officers assigned
to the SHU have keys while on duty.

7. The BOP requires correctional officers assigned to
guard inmates at the MCC to conduct institution-wide counts of
inmates at regular, scheduled intervals to ensure that each inmate
is alive and accounted for within the MCC (the “institutional
count”). On weekdays, the MCC conducts five institutional counts
at 4 p.m., 10 p.m., 12 a.m., 3 a.m., and 5 a.m. Performing an
institutional count is one of the most basic and essential aspects
of a correctional officer's job, and the count is one of the most
basic and essential functions of daily operation of the MCC. Two
officers are required to perform the institutional count for each
housing unit, including the SHU, and are further required to
document their performance of the count on an official MCC form
called a count slip. To perform the institutional count in the
SHU, two officers must walk from tier to tier to observe and count

each individual inmate.

 
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a. On the count slip, both correctional officers are
required to fill in the date and time the count was performed,
write the total number of inmates physically present in the unit
counted, and then sign the count slip. Once the correctional
officers have completed and signed the count slips, the count slips
are then collected and delivered to the Control Center, where
officers within the Control Center are responsible for comparing
the count slips from each housing unit to the institution’s inmate
roster to ensure that each inmate is accounted for. Only after
all the count slips are collected from each housing unit, and the
numbers on the slips are matched to the institution’s inmate
roster, can the institutional count be deemed “cleared” or
completed. Tf a housing unit’s count slip is incorrect or
incomplete, then the institution cannot “clear” the count.
Instead, the count must be completely redone in that housing unit
via a more-intensive version of the institutional count called a
“bed book count,” in which officers must compare every individual
inmate to the institution’s inmate “roster. Records of each
institutional count, including the count slips, are provided to a
supervising official and retained by the MCC.

9, In addition to the institutional count, the BOP
requires correctional officers assigned to the SHU to walk each of

the tiers of the SHU - which is called a “round” — every thirty

 

 
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minutes (“30-minute rounds”). Like the institutional counts,
correctional officers conduct 30-minute rounds to ensure that each
inmate is alive and accounted for within his cell. Correctional
officers working in the SHU are required to complete a form, which
is reviewed and signed by their supervisor, documenting the date
and time of each 30-minute round in each tier of the SHU.

EPSTEIN’S PRIOR APPARENT SUICIDE ATTEMPT

 

10. On July 6, 2019, inmate Jeffrey Epstein was
arrested and detained at the MCC on sex trafficking charges. On
July 10, 2019, Epstein was assigned to the SHU due to, among other
things, risk factors for suicidality and safety concerns relating
to housing him with the MCC’s general population.

11. On July 23, 2019, while Epstein was housed in the
SHU, MCC officers responded to an emergency call, and found Epstein
on the floor of his cell with a strip of bedsheet around his neck.
MICHAEL THOMAS, the defendant, was one of the MCC officers who
responded to the incident. Epstein was subsequently transferred
out of the SHU and was placed on suicide watch. Inmates placed
on suicide watch are housed in a cell on the hospital wing floor
of the MCC, and are watched twenty-four hours a day by a staff
member or a specially trained inmate companion.

12. Epstein remained on suicide watch for approximately

twenty-four hours, and then was transferred to psychological

 

 
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observation, until July 30, 2019. Psychological observation is
less restrictive than suicide watch, but inmates are still housed
in the hospital wing of the MCC and watched twenty-four hours a
day.

13. On July 30, 2019, Epstein was transferred back to
the SHU, and, at the direction of the MCC’s psychological staff,
was required to have an assigned cellmate. Epstein was aiso
assigned to the cell closest to the correctional officers’ desk in
the common area of the SHU, which was approximately fifteen feet
from the cell. Conducting the required institutional counts and
thirty-minute rounds in the SHU were also part of the MCC’ s
procedures for ensuring the safety of inmates, including Epstein.

EVENTS OF AUGUST 9-10, 2019

 

14. On August 9, 2019, Epstein’s cellmate was
transferred out of the MCC in a routine, pre-arranged transfer at
approximately 8 a.m. Despite the MCC’s psychological staff's
direction that Epstein have a ceilmate, no new cellmate was
assigned to Epstein’s cell.

15. TOVA NOEL, the defendant, was one of the assigned
officers on duty in the SHU from 4 p.m. on August 9, 2019 to 8
a.m. on August 10. From 4 p.m. to 12 a.m., two other officers
were on duty with NORL in the SHU: one officer was assigned to

work from 2 p.m. to 10 p.m. (“Officer-1”), and one officer was

 

 
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assigned to work from 4 p.m. to 12 a.m. (“Officer-2"). MICHABi
THOMAS, the defendant, started his shift in the SHU at 12 a.m. on
August 10. From 12 a.m. until 8 a.m. on August 10, NOEL and THOMAS
were the only two officers on duty in the SHU.

16. During the time period from 4 p.m. on August 9 to
8 a.m. on August 10, the officers on duty in the SHU, inciuding
TOVA NOEL and MICHAEL THOMAS, the defendants, were responsible for
conducting five institutional counts: 4 p.m. and 10 p.m. on August
9; and 12 a.m., 3 a.m., and 5 a.m. on August 10. . NOEL, THOMAS and
the other officers on duty were also responsible for completing
paperwork attesting to each of those counts. While, as detailed
herein, count slips were completed for each institutional count,
in fact, not a single one of those institutional counts was done.

17. TOVA NOEL, the defendant, and Officer-1l were
responsible for conducting the 4 p.m. institutional count in the
SHU. As video from the MCC’s internal video surveiilance system
makes clear, NOEL and Officer-1 did not perform the 4 p.m. count.
Nonetheless, NOEL and Officer-1 completed and signed a count slip
that falsely stated that the 4 p.m. institutional count had been
performed. In reliance on that falsified count slip, at
approximately 5:03 p.m., the Control Center cleared the 4 p.m.

count.

 

 
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18. That evening, Epstein returned to the SHU from his
attorney visit and was escorted into his cell by TOVA NOEL, the
defendant, and another officer at approximately 7:49 p.m. NOEL
and the other officer left the tier in which Epstein was housed
immediately thereafter.

19. By or before 10 p.m., all inmates in the MCC were
locked in their cells for the night. At or around that time, TOVA
NOEL, the defendant, and Officer~2 were responsible for conducting
the 10 p.m. institutional count in the SHU. However, video from
the MCC's internal video surveillance system shows that NOEL and
Officer-2 did not perform the 10 p.m. count. Nonetheiess, NOEL
and Officer-2 completed and signed a count slip falsely stating
that the 10 p.m. institutional count had been performed. In
reliance on that falsified count slip, at approximately 10:36 p.m.,
the Control Center cleared the 10 p.m. count.

20. As reflected on video obtained from the MCC’s
internal video surveillance system, at approximately 10:30 p.m. on
August 9, 2019 - after TOVA NOEL, the defendant, had signed and
submitted the 10 p.m. count slip and the institutional count had
been completed - NOEL briefly walked up to, and then waiked back
from, the door to the tier in which Epstein was housed. As
confirmed by the video obtained from the MCC’s internal video

surveillance system, this was the last time anyone, including any

 

 
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correctional officer, walked up to, let alone entered, the only
entrance to the tier in which Epstein was housed until
approximately 6:30 a.m. on August 10.

21. Officer-1l’s shift ended at approximately 10 p.m.,
and at approximately 12 a.m., MICHARL THOMAS, the defendant,
replaced Officer-2, joining TOVA NOBL, the defendant, as the only
two correctional officers on duty in the SHU. NOEL and THOMAS
were responsible for conducting the 12 a.m. institutional count in
the SHU. As confirmed by video from the MCC’s internal video
surveillance system, NOEL and THOMAS did not perform the 12 a.m.
count. Nonetheless, NOEL and THOMAS completed and signed a count
slip for the 12 a.m. count that falsely stated that the
institutional count had been performed. in reliance on that
falsified count slip, at approximately 12:49 a.m., the Control
Center cleared the 12 a.m. count.

2?, TOVA NOEL and MICHAEL THOMAS, the defendants, were
additionally responsible for conducting the 3 a.m. and 5 a.m.
institutional counts in the SHU. As confirmed by video from the
MCC's internal video surveillance system, NOEL and THOMAS did not
perform either the 3 a.m. or the 5 a.m. counts. NOEL and THOMAS
nonetheless completed and signed count slips for both counts that
faisely stated that they had performed the 3 a.m. and 95 a.m.

institutional counts. In reliance on those falsified count slips,

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at approximately 3:24 a.m. and 5:30 a.m., the Control Center
cleared the 3 a.m. and 5 a.m. counts, respectively.

23. Moreover, despite the requirement that officers on
duty in the SHU conduct and document regular, 30-minute rounds,
TOVA NOEL and MICHAEL THOMAS, the defendants, did not perform any
of the required 30-minute rounds during their shift between
approximately 12 a.m. and 6:30 a.m. Nonetheless, NOEL completed
and signed more than 75 separate 30-minute round entries falsely
affirming that they had, in fact, conducted such rounds.

24. During the night, instead of completing the
required counts and rounds, TOVA NOEL and MICHAEL THOMAS, the
defendants, were seated at the correctional officers’ desk in the
SHU common area (as noted above, approximately 15 feet from
Epstein’s cell), used the computers, and moved around the SHU
common area. For a period of approximately two hours, NOEL and
THOMAS sat at their desk without moving, and appeared to have been
asleep. NOEL used the computer periodically throughout the night,
including to search the internet for furniture sales and benefit
websites. THOMAS used the computer briefly around 1 a.m., 4 a.m.,
and 6 a.m. to search for motorcycle sales and sports news.

25. At approximately 4 a.m., the overnight supervisor
briefly visited NOEL and THOMAS in the SHU, and conferred with

NOEL and THOMAS, who were seated at and around the officers’ desk,

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before leaving. At approximately 5:30 a.m., another correctional
officer briefly walked through the SHU common area. Aside from
those two officers, as confirmed by video surveillance, no one
else entered the SHU, no one conducted any counts or rounds
throughout the night, and no one entered the tier in which Epstein
was housed.

26. Shortly after 6 a.m. on August 10, 2019, MICHAEL
THOMAS and TOVA NOEL, the defendants, received a delivery of
breakfast carts into the SHU, after which time they were again the
only officers in the SHU. Shortly after 6:30 a.m., NOEL and THOMAS

walked up to and entered the tier in which Epstein was housed to

serve breakfast. At approximately 6:33 a.m., an alarm was
activated in the SHU. Epstein was alone in his cell and not
responsive, with a noose around his neck. A supervisor who had
just started his shift (supervisor-1”) responded to the alarm

almost immediately thereafter, and as NOEL approached the door to
the SHU to open the door for Supervisor-1, NOEL told Supervisor-1
that “Epstein hung himself.” After arriving in the SHU,
Supervisor-1 spoke with THOMAS and NOEBL. NOEL told Supervisor~1
“we did not complete the 3 a.m. nor 5 a.m. rounds.” ‘THOMAS stated,
“we messed up,” and “I messed up, she’s not to blame, we didn’t do

any rounds.”

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27. Epstein was transferred to a local hospital where
he was declared dead shortly thereafter. The Office of the Chief
Medical Examiner of the City of New York conducted an autopsy and
determined that Epstein had committed suicide by hanging himself.

STATUTORY ALLEGATIONS

 

COUNT ONE
(Conspiracy)

The Grand Jury charges:

28. The Grand Jury incorporates the allegations
contained. in paragraphs 1 through 27 of this Indictment as though
fully set forth herein.

29. In or about August 2019, in the Southern District
of New York, TOVA NOEL and MICHAEL THOMAS, the defendants,
knowingly conspired with each other to:

a. Knowingly defraud the United States by
impairing, obstructing, and defeating the lawful functions of a
department or agency of the United States, to wit, the Mcc’s
function to ensure the care, custody, and control of its inmate
population.

b. Knowingly make and use a false writing or
document knowing the same to contain a materially false,
fictitious, and fraudulent statement and entry with the intent to
impede, obstruct, or influence the investigation or proper

administration of any matter within the jurisdiction of any

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department or agency of the United States, in violation of Title
18, United States Code, Section 1001 (a) (3).

30. In furtherance of the conspiracy and to effect the
illegal objects thereof, TOVA NORL and MICHAEL THOMAS, the
defendants, committed the following overt acts, among others, in
the Southern District of New York:

a. On August 10, 2019, NOEL and THOMAS falsely
certified, on an MCC count slip, that they had performed the 12
a.m. institutional count of the SHU, when they had not in fact
done so.

b. On August 10, 2019, NOFL and THOMAS falsely
certified, on an MCC count slip, that they had performed the 3
a.m. institutional count of the SHU, when they had not in fact
done so.

c. On August 10, 2019, NOEL and THOMAS falsely
certified, on an MCC count slip, that they had performed the 95
a.m. institutional count of the SHU at MCC, when they had not in
fact done so.

d. On August 10, 2019, NOEL falsely certified that
she and THOMAS had performed a series of 30-minute rounds of the
SHU between 12 a.m. and 6:30 a.m., when they had not in fact done
so.

(Title 18, United States Code, Section 371)

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COUNT TWO
(False Records — 4 p.m. Count)

The Grand Jury further charges:

31. The Grand Jury incorporates the allegations
contained in paragraphs 1 through 27 of this Indictment as though
fully set forth herein.

32. On or about August 9, 2019, in the Southern District
of New York, TOVA NOEL, the defendant, willfully and knowingly did
make and use a false writing or document knowing the same to
contain a materially false, fictitious, and fraudulent statement
and entry with the intent to impede, obstruct, or influence the
investigation or proper administration of any matter within the
jurisdiction of any department or agency of the United States, and
did attempt to do the same, to wit, NOKL created, signed, and
submitted to the MCC a materially false count slip indicating that
she had performed the 4 p.m. institutional count of the SHU, when
she had not in fact done so.

(Title 18, United States Code, Sections 1001(a) (3) and 2)
COUNT THREE
(Faise Records — 10 p.m. Count)

The Grand Jury further charges:

33, The Grand Jury incorporates the allegations
contained in paragraphs 1 through 27 of this Indictment as though

fully set forth herein.
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34. On or about August 9, 2019, in the Southern District
of New York, TOVA NOEL, the defendant, willfully and knowingly did
make and use a false writing or document knowing the same to
contain a materially false, fictitious, and fraudulent statement
and entry with the intent to impede, obstruct, or influence the
investigation or proper administration of any matter within the
jurisdiction of any department or agency of the United States, and
did attempt to do the same, to wit, NOEL created, signed, and
submitted to the MCC a materially false count slip indicating that
she had performed the 10 p.m. institutional count of the SHU, when
she had not in fact done so.

(Title 18, United States Code, Sections 1001(a) (3) and 2)

COUNT FOUR
(False Records ~— 12 a.m. Count)

The Grand Jury further charges:

35. The Grand Jury incorporates the allegations
contained in paragraphs 1 through 27 of this Indictment as though
fully set forth herein.

36. on or about August 10, 2019, in the Southern
District of New York, TOVA NOFL and MICHAEL THOMAS, the defendants,
willfully and knowingly did make and use a false writing or
document knowing the same to contain a materially false,
fictitious, and fraudulent statement and entry with the intent to

impede, obstruct, or influence the investigation or proper

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administration of any matter within the jurisdiction of any
department or agency of the United States, and did attempt to do
the same, to wit, NOEL and THOMAS created, signed, and submitted
to the MCC a materially false count slip indicating that they had
performed the 12 a.m. institutional count of the SHU, when they
had not in fact done so.

(Title 18, United States Code, Sections 1001(a} (3) and 2)

COUNT FIVE
(Faise Records — 3 a.m. Count)

The Grand Jury further charges:

37. The Grand Jury incorporates the aliegations
contained in paragraphs 1 through 27 of this Indictment as though
fully set forth herein.

38. On or about August 10, 2019, in the Southern
District of New York, TOVA NOEL and MICHAEL THOMAS, the defendants,
willfully and knowingly did make and use a false writing or
document knowing the same to contain a materially false,
fictitious, and fraudulent statement and entry with the intent to
impede, obstruct, or influence’ the investigation or proper
administration of any matter within the jurisdiction of any
department or agency of the United States, and Gid attempt to do
the same, to wit, NOFL and THOMAS created, signed, and submitted

to the MCC a materially false count slip indicating that they had

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performed the 3 a.m. institutional count of the SHU, when they had
net in fact done so.

(Title 18, United States Code, Sections 1001(a) (3) and 2)

COUNT SIX
(False Records —- 5 a.m. Count)

The Grand Jury further charges:

39. The Grand Jury incorporates the allegations
contained in paragraphs 1 through 27 of this Indictment as though
fully set forth herein.

40. On or about August 10, 2019, ‘in the Southern
District of New York, TOVA NOEL and MICHARL THOMAS, the Gefendants,
willfully and knowingly did make and use a false writing or
document knowing the same to contain a materiaily false,
fictitious, and fraudulent statement and entry with the intent to
impede, obstruct, or influence the investigation or proper
administration of any matter within the jurisdiction of any
department or agency of the United States, and did attempt to do
the same, to wit, NOFRL and THOMAS created, signed, and submitted

to the MCC a materially false count slip indicating that they had

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performed the 5 a.m. institutional count of the SHU, when they had
net in fact done so.

{Title 18, United States Code, Sections 1001(a) (3) and 2)

Soc Cf

FORE PEGISON : GEOFFREY 6} BERMAN
United States Attorney

 
 

        

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
coo Vi. —_—

TOVA NOEL and
MICHAEL THOMAS,

Defendants.

 

INDICTMENT
19 Cr.
Title 18, United States Code,
Sections 371, 1001{a) (3), and 2,

GEOFFREY S. BERMAN
United States Attorney

 

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Foreperson.

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